Case 1:17-cr-20307-JEM Document 415 Entered on FLSD Docket 03/21/2018 Page 1 of 1
                              UN ITED STATES DISTRICT COURT
                              SOU TH ERN D ISTR ICT O F FLO RIDA
                        CASE NO .17-20307-CR-M ARTm EZ/OTAZO-M YES

   UN ITED STA TES O F A M ERICA

          Plaintiff,
  VS.


  D AN IEL JON ES,

          D efendant.


          O RDER ADOPTING M AG-
                              ISTRATE'S REPORT-AND RECOM M ENDATION
          TH IS C AU SE cam e before the Courtupon Defendant'sM otion to SuppressFruits

  oflllegalSeizuresand SearchesgECFNo.2721,filed onDecember20,2017.
          THE M ATTER wasreferred to United StatesM agistrateJudgeAliciaM .Otazo-Reyes,
  and accordingly,theM agistrateJudgeconducted an evidentiary hearing on January 4,20l8.A

  ReportandRecommendation(ECF No.3211wasfiledonJanuary9,2018,recommendingthat
  Defendant'sM otion to Suppress be D enied.

          Thepartieswereaffordedtheopportunitytofilewritlenobjectionsifany,fourteen(14)
  daysfrom thedateofthereportandtherecordrevealsthatobjectionswerefiledbyDefendant's
  Counseland noted by this Court. A fter a de novo review ofthe R ecord and M agistrate O tazo-
  Reyes'w ell-reasoned Reportand R ecom m endation,itishereby:
          O R D ER ED A N D A DJUD G ED thatU nited StatesM agistrate Judge A licia M .Otazo-
  Reyes'Reportand Recommendation(ECFNo.3211isherebyADOPTED AND AFFIRM ED in
  its entirety.
  Defendant'sM otiontoSuppressFruitsoflllegalSeizuresandSearches(ECF No.2721is
  DEN IED.
         DONEANDORDERED inChambersatMiami,Florida,thisX l dayofMarch,2018.


                                                                   r

                                                       JOS .M A R TINEZ
                                                       > 1 D STA TES DIS RICT JU D GE

  Copiesprovided to:
  M agistrate Judge Otazo-Reyes
  A 11CounselO fRecord
